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               EXHIBIT C
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                                                                                   Peloquin, Eric <eric.peloquin@brp.com>



ConfigAir ­ Potentially a current supplier of SAP
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    My name is Henry Kurz.

    Until this wednesday I was vice president and CTO of ConfigAir LLC. ConfigAir does your configuration web ui.

    I am no longer VP or CTO, but I will file a legal request against ConfigAir about the software sold to you and other
    companies from ConfigAir as I developed it and ConfigAir took it away from me. Plus they won't be able to support you
    properly after firing me.
    I am ready to help you the best I can. Please contact me via this email address (henry.kurz@hkc-group.de)
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    Thank you.

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